Case 1:23-cv-00926-KMW-AMD   Document 312-35   Filed 02/28/25   Page 1 of 4 PageID:
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 Case1:23-cv-00926-KMW-AMD
Case  1:19-cv-00434-CFC-CJB         Document 152
                                             312-35Filed 12/27/19
                                                       Filed 02/28/25Page 1 of2114
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  MEOXPHQIHOG#PQDWFRP                               Attorneys for Alvogen Pine Brook
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    Attorneys for Pharmacyclics LLC
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     Case  1:19-cv-00434-CFC-CJB          Document 152
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